Filed 11/29/16                                                                                  Case 16-90994                                                                           Doc 19
w
om
                                                                                                                                                     FILED                 WNIM
       •ii in this information ..rrn1TheL.1u                                  . I1flflIIII.I


        Debtor 1                                                          ii                To                                                    NOV 292016
                              First Naere                  Middle Nanre                         Last Seem

        Debtor 2
        (Spouse, if tiling)   First Nanme                  Middle Nanme                         Last Nanme
                                                                                                                                       UNITED STATES BANKRUPTCY COURT
        United States Bankruptcy Court for the:                           I   -s.                District of
                                                                                                                                        EASTERN DISTRICT OF CALIFORNIA
                                                                                                               (State)
        Case number               /IQ       S
                                                                                                                                                               U   Check if this is an
                                                                                                                                                                   amended filing

        Official Form 106A/B
        Schedule A/B: Property                                                                                                                                                 12/15

        In each category, separately list and describe Items. List an asset only once. If an asset fits in more than one category, list the asset in the
        category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
        responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages
        write your name and case number (if known). Answer every question.


                        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

           Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

                              to Part 2.
            LI   Yes. Where is the property?
                                                                                       What is the property? Check all that apply.
                                                                                                                                         Do not deduct secured claims or exemptions Put
                                                                                       U       Single-family home                        the amount of any secured claims on ScheduleD
                                                                                                                                         Creditors Who Have Claims Secured by Property.
                 .,.Street address, if available, or other description
                                                                                       U       Duplex or multi-unit building
                                                                                       U       Condominium or cooperative                Current value of the Current value of the
                                                                                       U       Manufactured or mobile home               entire property?      portion you own?
                                                                                       U       Land
                                                                                       U       Investment property

                      City                             State       ZIP
                                                                                       LI      Timeshare                                 Describe the nature of your ownership
                                                                                                                                         interest (such as fee simple, tenancy by
                                                                                       LI      Other
                                                                                                                                         the entireties, or a life estate), if known.
                                                                                       Who has an interest In the property? Check one.

                                                                                       U Debtor 1 only
                      County                                                           U Debtor 2 only
                                                                                       U Debtor 1 and Debtor 2 only                      LI   Check if this is community property
                                                                                                                                              (see instructions)
                                                                                       U At least one of the debtors and another
                                                                                       Other Information you wish to add about this item, such as local
                                                                                       property identification number:
            If you own or have more than one, list here:
                                                                                     What is the property? Check all that apply.
                                                                                                                                         Do not deduct secured claims or exemptions Put
                                                                                      U     Single-family home                           the amount of any secured claims on Schedule D
              1.2.                                                                                                                       Creditors Who Have Claims Secured by Property
                      Street address, if available, or other description
                                                                                      U     Duplex or multi-unit building
                                                                                      U    Condominium or cooperative                    Current value of the Current value of the
                                                                                      U     Manufactured or mobile home                  entire property?      portion you own?
                                                                                      U     Land                                         $
                                                                                      U     Investment property
                                                                                      U     Timeshare                                    Describe the nature of your ownership
                      City                            State       ZIP Code                                                               interest (such as fee simple, tenancy by
                                                                                      LI    Other                                        the entireties, or a life estate), if known.
                                                                                     Who has an interest in the property? Check one.

                                                                                     U Debtor 1 only
                      County                                                         LI Debtor 2 only
                                                                                     LI Debtor 1 and Debtor 2 only                       LI   Check if this is community property
                                                                                     U At least one of the debtors and another                (see instructions)

                                                                                     Other information you wish to add about this item, such as local
                                                                                     property Identification number:


          Official Form 106NB                                                         Schedule NB: Property                                                               page 1
Filed 11/29/16                                                                                 Case 16-90994                                                                                      Doc 19

        Debtor 1                                               ((j 6                                                            Case number (if   ko)
                               Firat Name     Mddte Name                     Lart Name




                                                                                         What is the property? Check all that apply.               Do not deduct secured claims or exemptions. Put
             1.3.                                                                        U    Sinnle-tamil home                                    the amount of any secured claims on ScheduleD:
                                                                                                                                                   Creditors Who Have Claims Secured by Property.
                       Street address, if available, or other description                U    Duplex or multi-unit building                        ..      . .................... . -.    ... ..........
                                                                                         U  Condominium orcooperative                              Current value of the Current value of the
                                                                                         fI •.   tA       --                                       entire property?           portion you own?
                                                                                            IVidiUtCU
                                                                                               tiU    LII FItOUlItI iictme

                                                                                         U    Land                                                 $
                                                                                         U    Investment property
                       City                               State          ZIP Code        U    Timeshare                                            Describe the nature of your ownership
                                                                                                                                                   interest (such as fee simple, tenancy by
                                                                                         U    Other                                                the entireties, or a life estate), if known.
                                                                                         Who has an interest in the property? Check one.

                       County
                                                                                         U Debtor 1 only
                                                                                         U Debtor 2 only
                                                                                         U Debtor 1 and Debtor 2 only                              U    Check if this is community property
                                                                                         U At least one of the debtors and another                      (see instructions)

                                                                                         Other information you wish to add about this item, such as local
                                                                                         property identification number:


          Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                             $_________________
          you have attached for Part 1. Write that number here. ......................................................................................                9




                        Describe Your Vehicles


       Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
       you own that someone else drives. If you lease a vehicle, also report it on Schedule 0: Executory Contracts and Unexpired Leases.


          Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
          U       No



           3.1. Make:                                61 £-(                              Who has an interest in the property? Check one.           Do not deduct secured daims or exemptions. Put
                                                                                                                                                   the amount of any secured claims on ScheduleD:
                       Model: eIC                                        .                            1 only
                                                                                                                                                   Creditors Who Have Claims Secured by Property.
                       Year:
                                                                                         U Debtor 2 only
                                                                                         U Debtor I and Debtor 2 only                              Current value of the Current value of the
                       Approximate mileage:           2' _                               U At least one of the debtors and another
                                                                                                                                                   entire property?      portion you own?

                       Other information:
                                                                                         U Check if this       is community property (see                                     $______
                                                                                             instructions)



          If you own or have more than one, describe here:

           3.2.     Make:                            Ckv                                 Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put

                    Model:                                1/c-     t-
                                                                        IF
                                                                                           -6ii only                                               the amount of any secured claims on Schedule D:
                                                                                                                                                   Creditors Who Have Claims Secured by Property.
                    Year:
                                                                                         U Debtor 2 only
                                                                                         U Debtor 1 and Debtor 2 only                              Current value of the Current value of the
                                                               5                                                                                   entire property?      portion you own?
                    Approximate mileage:              1    1             c) 0            U At least one of the debtors and another
                    Other information:
                                                                                         U Check if this is community property (see                $_________ $_________
                                                                                             instructions)




        Official Form 106AIB                                                             Schedule NB: Property                                                                        page 2
Filed 11/29/16                                                                                 Case 16-90994                                                                                                                                Doc 19

        Debtorl            d(olle 3er(( (14(,tC,5
                          First Narrre
                                                                                                                                                       Case number (if                          I LQ                         g /
                                                  Middle Name             Last Name




           3,3,    Make:                                                              Who has an interest in the property? Check one.                                                  Do not deduct secured claims or exemptions. Put
                                                                                                                                                                                       the amount of any secured claims on Schedule D
                   Model:                                                                 Dbtor 1 only
                                                                                                                                                                                       Creditors Who Have Claims Secured by Property.
                                                                                      U Debtor 2 only
                  Year:                                         1   (
                                                                                                                                                                                       Current value of the Current value of the
                                                                                      U Debtor 1 and Debtor 2 only
                  Approximate mileage:                                                                                                                                                 entire property?      portion you own?
                                                                                      U At least one of the debtors and another


                                                                        --1
                   Other information:
                                                                                                                                                                                       $        31aO                         $ 38Cr4
                                                                                      U Check if this               is community property (see
                                                          elo 'a s                        instructions)


           3,4, Make:
                                                                                      Who has an interest in the property? Check one.                                                  Do not deduct secured claims or exemptions. Put
                                                                                                                                                                                       the amount of any secured claims on Schedule D:
                   Model:                                                             U Debtor 1 only                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                      U Debtor 2 only
                  Year:                                                                                                                                                                Current value of the Current value of the
                                                                                      U Debtor 1 and Debtor 2 only
                  Approximate mileage:                                                                                                                                                 entire property?      portion you own?
                                                                                      U At least one of the debtors and another
                   Other information:
                                                                                      U Check if this is                 community property (see
                                                                                          instructions)




       4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
          Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          U   No
          Uyes

                                              I
                                 -

                                   /)fc5                                              Who has an interest in the property? Check one.                                                  Do not deduct secured claims or exemptions. Put
          4.1. Make:
                                                                                                                                                                                       the amount of any secured claims on Schedule D:
                   Model:         b474                                                                1 only                                                                           Creditors Who Have Claims Secured by Property.
                                                                                      U   Debtor 2 only
                  Year:          A       3   (3
                                                                                      U   Debtor 1 and Debtor 2 only                                                                   Current value of the Current value of the
                  Other information:                                                  U   At least one of the debtors and another                                                      entire property?                      portion you own?


                                                                                      U Check if this is community                              property (see
                                                                                                                                                                                       $________
                                                                                          instructions)



          If you own or have more than one, list here:

          4.2. Make:
                                                                                      Who has an interest In the property? Check one.                                                 Do not deduct secured claims or exemptions. Put
                                                                                                                                                                                      the amount of any secured claims on Schedule D.
                  Model:                                                              U   Debtor 1 only                                                                               Creditors Who Have Claims Secured by Property.
                                                                                      U   Debtor 2 Only
                  Year:                                                                                                                                                                Current value of the Current value of the
                                                                                      U   Debtor 1 and Debtor 2 only
                                                                                                                                                                                       entire property?      portion you own?
                  Other information:                                                  U   At least one of the debtors and another


                                                                                      U Check if this is community property (see
                                                                                          instructions)




       5, Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
          you have attached for Part 2. Write that number here                            ............................................................................................................................   4




       Official Form 106A/B                                                            Schedule A/B: Property                                                                                                                      page 3
Filed 11/29/16                                                                              Case 16-90994                                                                                          Doc 19

        Debtor 1                                                                                                                     Case number
                          First Name         Middle Name               Last Name




                     Describe Your Personal and Household Items

                                                                                                                                         •                      .:       Currentvalue of the
       Do you own or have any legal or equitable interest in any of the following Items?                                                     •                ...        portion you own?
                                                                                                                                                                         Do not deduct secured claims
                                                                                                                                                                         or exemptions.
       6. Household goods and furnishings
          Examples: Major appliances, furniture, linens, china, kitchenware
           DNo
           U Yes. Describe .........                                                                                                                                      $

          Electronics
          Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                          collections; electronic devices including cell phones, cameras, media players, games
          ONo
          U Yes, Describe

          Collectibles of value
          Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                          stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
          UNo
          U Yes. Describe
                                                                                                                                                                          $

          Equiprnentforsports and hobbies
          Examples: sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                          and kayaks; carpentry tools; musical instruments
          U    No
          U    Yes. Describe.
                                                                                                                                                                          $

          Firearms
          Examples: Pistols, rifles, shotguns, ammunition, and related equipment
          UNo
          0    Yes. Describe . ........


          Clothes
          Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          UNo
          0    Yes. Describe
                                                                                                                                                                          $___________________


         Jewelry
          Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
                    gold, silver
          U    No
          U    Yes. Describe

         Non-farm animals
          Examples: Dogs, cats, birds, horses

          0    No
          0    Yes. Describe                                                                                                                                             $___________________

         Any other personal and household items you did not already list, including any health aids you did not list

          o    No
          0    Yes. Give specific
                                                                                                                                                                         $___________________
               information ...............

          Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                         $_________________
          forPart 3. Write that number here ....................................................................................................................     4


       Official Form 106A/B                                                         Schedule A/B: Property                                                                            page 4
Filed 11/29/16                                                                                                       Case 16-90994                                                                                                                    Doc 19

        Debtor 1                                                                                                                                                           Case number (if
                              Fi,t Nene                Middle Neme                       Last Neese




      WXT111111
           Describe Your Financial Assets


       Do you own or have any legal or equitable interest in any of the following?                                                                                                                                           Current value of the
                                                                                                                                                                                                                             portion you own?
                                                                                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                                                                                             or exemptions

          Cash
           Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

           UNO
          U Yes .....................................................................................................................................................................        Cash .......................



          Deposits of money
          Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                    and other similar institutions. If you have multiple accounts with the same institution, list each.

            No
          U Yes                                                                                               Institution name:


                                                        17.1. Checking account:                                              .                                                                                                $___________________

                                                        17.2. Checking account:                                                                                                                                             $___________________

                                                        17.3. Savings account:                                                                                                                                                $__________________

                                                        17.4. Savings account:

                                                        17.5. Certificates of deposit:
                                                                                                                                                                                                                              $_____________________

                                                        17.6. Other financial account:
                                                                                                                                                       .                                                                      $___________________

                                                        17.7. Other financial account:

                                                        17.8. Other financial account:

                                                        17.9. Other financial account:




          Bonds, mutual funds, or publicly traded stocks
          Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
          U Yes ..................                      Institution or issuer name:




          Non-publicly traded stock and interests in incorporated and unincorporated businesses, Including an interest in
          an LLC, partnership, and joint venture

          U No                                         Name of entity:                                                                                                                   % of ownership:
          U Yes. Give specific                         __________________________________________________________                                                                        _________%
                                                                                                                                                                                                                              $_________________
               information about
               them . ........................                                                                                                                                                                %               $__________________
                                                                                                                                                                                                              %




        Official Form 106A/B                                                                               Schedule NB: Property                                                                                                          page 6
Filed 11/29/16                                                                                   Case 16-90994                                                                       Doc 19

        Debtor    1                                                                                                 Case number (ifl,,own)________________________________________
                              First Nn,e             Middlo Nne                  LM Nrn,e




             Government and corporate bonds and other negotiable and non-negotiable instruments
             Negotiable instruments include personal checks, cashiers ' checks, promissory notes, and money orders.
             Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

             UNo
             U   Yes. Give specific                  Issuer name:
                 information about
                 them .......................




             Retirement or pension accounts
             Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

             UNo
             U   Yes. List each
                 account separately.. Type of account:                             Institution name:

                                                     401(k)   or similar plan:

                                                     Pension plan:

                                                     IRA:

                                                     Retirement account:

                                                     Keogh:

                                                     Additional account:

                                                     Additional account:



        2.   Security deposits and prepayments
             Your share of all unused deposits you have made so that you may continue service or use from a company
             Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
             companies, or others

             UN0
             U   Yes                                                        Institution name or individual:
                                                     Electric:
                                                                                                                                                          $____________________
                                                     Gas:
                                                                                                                                                          $____________________
                                                     Heating oil:
                                                                                                                                                          $______________________
                                                     Security deposit on rental unit:
                                                                                                                                                          $_________________________
                                                     Prepaid rent:
                                                                                                                                                          $______________________
                                                     Telephone:
                                                                                                                                                          $______________________
                                                     Water:
                                                                                                                                                          $_______________________
                                                     Rented furniture:
                                                                                                                                                          $_________________________
                                                     Other:
                                                                                                                                                          $______________________


       23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

             UNto
             U   Yes   ...........................   Issuer name and description:




                                                                                                                                                          $


        Official Form 106A/B                                                                Schedule NB: Property                                                     page 6
Filed 11/29/16                                                                               Case 16-90994                                                                                    Doc 19

        Debtor 1                                                                                                            Case number
                           Fimt Name                  Middle Name            Last Name




       24. Interestsin an education IRA, In an account in a qualified ABLE program, or under a qualified state tuition program.
          26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

               No
          U   Yes      .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




          Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
          exercisable for your benefit

               No
          U   Yes. Give specific
              information about them...


          Patents, copyrights, trademarks, trade secrets, and other intellectual property
          Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
          UN0
          U   Yes. Give specific
              information about                                                                                                                                     $


          Licenses, franchises, and other general IntangIbles
          Examples:. Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

          U No
          U Yes. Give specific
              information about them...


       Money or property owed to you?                                                                                                                               Current value of the
                                                                                                                                                                    portion you own?
                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                    claims or exemptions. -

          Tax refunds owed to you
          UN0
          U Yes, Give specific information                                                                                                 Federal:              $__________________
                    about them, including whether
                    you already filed the returns                                                                                          State:                $__________________
                    and the tax years
                                                                                                                                           Local'                $__________________


          Family support
          Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
          UNo
          U Yes. Give specific information ..............
                                                                                                                                          Alimony:                  $__________________
                                                                                                                                          Maintenance:              $__________________
                                                                                                                                          Support:                  $_________________
                                                                                                                                          Divorce settlement:       $____________________
                                                                                                                                          Property settlement:      $____________________

          Other amounts someone owes you
          Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                           Social Security benefits; unpaid loans you made to someone else
              No
          U Yes. Give specific information. ............                ..


                                                                                                                                                                    $___



        Official Form 106A/B                                                             Schedule AIB: Property                                                                page 7
Filed 11/29/16                                                                                          Case 16-90994                                                                                                                 Doc 19

        Debtor 1                                                                                                                                        Case number (if keoe'n)___________________________________________________
                            First Nerrre          Middle Naree                  Last Narrro




       31. Interests in insurance policies
          Examples: Health, disability, or life insurance: health savings account (HSA): credit, homeowner's, or renter's insurance
                No
          U     Yes. Name the insurance company                                Company name:                                                                Beneficiary:                                     Surrender or refund value:
                     of each policy and list its value.

                                                                                                                                                                                                             $




          Any interest in property that is due you from someone who has died
          If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
          property because someone has died.
          UN0
          U     Yes. Give specific information ..............



          Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
          Examples: Accidents, employment disputes, insurance claims, or rights to sue
          UN0
          U     Yes. Describe each claim ......................


          Other contingent and unhiquidated claims of every nature, including counterclaims of the debtor and rights
          to set off claims


          U     Yes. Dscribe each dlaim ......................




          Any financial assets you did not already list

          U     No
          U     Yes. Give specific information



          Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
          forPart 4. Write that number here ........................................................................................................................................................   4



                        Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

          Do you own or have any legal or equitable interest in any business-related property?
          U     No. Go to Part 6.
          U     Yes. Go to line 38.

                                                                                                                                                                                                           Current value of the
                                                                                                                                                                                                           portion you own?
                                                                                                                                                                                                           Do not deduct secured claims
                                                                                                                                                                                                           oréxemptiork

          Accounts receivable or commissions you already earned

                No
          U     Yes. Describe .......


          Office equipment, furnishings, and supplies
          Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
          UN0
          U    Yes. Describe           .......


        Official Form 106A/B                                                                    Schedule A/B: Property                                                                                                  page 8
Filed 11/29/16                                                                                         Case 16-90994                                                                                                                     Doc 19

        Debtor 1                                                                                                                                      Case number        (if known)___________________________________________________
                            First Noose                Middle Noose            Last Name




          MachInery, fixtures, equipment, supplies you use in business, and tools of your trade

                No
           U    Yes. Describe             ....... I


          Inventory
           U    No
           U    Yes. Describe...



          Interests In partnerships orJoint ventures
          UNo
          U     Yes. Describe                         Name of entity                                                                                                          % of ownership:




                                                                                                                                                                                           %           $


          Customer lists, mailing lists, or other compilations
                No
          U     Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                              No
                        U    Yes. Describe .........
                                                                                                                                                                                                           $


          Any business-related property you did not already list
                No
          U     Yes. Give specific
                information .........
                                                                                                                                                                                                           $




          Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
          forPartS. Write that number here ........................................................................................................................................................4




                        Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                        If you own or have an interest in farmland, list it in Part 1.


          Do you own or have any legal or equitable interest in any farm. or commercial fishing-related property?
          U    No. Goto Part 7.
          U    Yes. Go to line 47.

                                                                                                                                                                                                       Current value of the
                                                                                                                                                                                                       portion you own?
                                                                                                                                                                                                       Do not detuct secured      clams
                                                                                                                                                                                                       or.exenip)ions.
          Farm animals
          Examples: Livestock, poultry, farm-raised fish
          U     No
          UYes .......................... I

                                                                                                                                                                                                           $




        Official Form 106A/B                                                                  Schedule A/B: Property                                                                                                   page 9
Filed 11/29/16                                                                                               Case 16-90994                                                                                                           Doc 19

        Debtor I                                                                                                                                              Case number (if
                             First Nenre            Middle Nsrrre                  Last Name




          Crops—either growing or harvested

                No
          U     Yes. Give specific
                information . ............                                                                                                                                                                        $

          Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          U      No
          DYes........................... I

                                                                                                                                                                                                                  $

          Farm and fishing supplies, chemicals, and feed

          UNo
          DYes........................... I



          Any farm- and commercial fishing-related property you did not already list
          DN0
          U     Yes. Give specific
                information. ........... .


          Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                  $___________________
          forPart 6. Write that number here ........................................................................................................................................................4




                         Describe All Property You Own or Have an Interest in That You Did Not List Above

          Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

                No
                                                                                                                                                                                                                      $
          U     Yes. Give specific
                information . ............                                                                                                                                                                            $

                                                                                                                                                                                                                      $



          Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................4                                                        $




                         List the Totals of Each Part of this Form


          Part 1: Total real estate, line 2....................................................................................................................................................................

          Part 2: Total vehicles, line 5                                                                                     $_________________

          Part 3: Total personal and household items, line 15                                                                $_______________

          Part 4: Total financial assets, line 36                                                                            $________________

          Part 5: Total business-related property, line 45                                                                   $________________

          Part 6: Total farm- and fishing-related property, line 52                                                          $________________

          Part 7: Total other property not listed, line 54                                                               + $________________

          Total personal property. Add lines 56 through 61. ...................                                          .$                                      Copy personal property total 4 + $_______________




          Total of all property on Schedule A/B. Add line 55 + line 62........................................................................................., $_________________




       Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                 page 10
Filed 11/29/16                                                             Case 16-90994                                                                              Doc 19




          Debtor 1           ,L(-   5/
                             First Name

         Debtor 2
         (Spouse, if filing) First Name             Middle Name               Lent Name


         United States Bankruptcy Court for the:   40    h('.District of       Ut
         Case number
          (If known)
                                                                                                                                                U   Check if this is an
                                                                                                                                                    amended filing



        Official Form 106C
        Schedule C: The Property You Claim as Exempt                                                                                                          04/16

        Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
        Using the property you listed on Schedule A/B: Property (Official Form 1 O6NB) as your source, list the property that you claim as exempt. If more
        space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additionat pages, write
        your name and case number (if known).

        For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
        specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
        of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
        retirement funds—may be unlimited In dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
        limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
        would be limited to the applicable statutory amount


                         Identify the Property You Claim as Exempt


             Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
              U   You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
              U   You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



             For any property you list on Schedule A/B that you claim as exempt, fill in the Information below.


               Brief description of the property and line on      Current vatue of the    Amount of the exemption you claim         Specific laws that allow exemption
               Schedule A/B that lists this property              portion you own
                                                                  Copy the value from     Check only one box for each exemption.'
                                                                  Schedule A/B

              Brief
              description:                                        $                       ,.   $

              Line from
                                                                                          U    100% of fair market value, up to
              Schedule A/B                                                                     any applicable statutory limit


              Brief
              description:                                        $                       ,.   $

              Line from
                                                                                          U 100% of fair market value, up to
              Schedule A/B:                                                                    any applicable statutory limit

              Brief
              description:                                        $                       U$
              Line from                                                                   U 100% of fair market value, up to
              Schedule A/B:          ______                                                    any applicable statutory limit


             Are you claiming a homestead exemption of more than $160,375?
             (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

                   No
             U    Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   UNo
                   U      Yes



        Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                           page 1 of
Filed 11/29/16                                                               Case 16-90994                                                                                 Doc 19


        Debtor 1                                                                           Case number                      ifh,osm)___________________________________
                           stName   MIdde Name             Lest Name


        •1tW          Additional Page

              Brief description of the property and line           Current value of the    Amount of the exemption you claim              Specific laws that allow exemption
              on Schedule A/B that lists this property             portion you own
                                                                   Copy the value from     Check only one box for each exemption
                                                                   SchedüleA/BS                                                       -

             Brief
             description:                                          $                       Cl $
              Une from                                                                     U 100% of fair market value, up to
              Schedule ,•                                                                          any applicable statutory limit

        •    Brief
             description:                                          $______________

              Line from                                                                    U 100% of fair market value, up to
              Schedule A/B:                                                                        any applicable statutory limit


             Brief
             description:                                          $                       U$
              Line from
                                                                                           U 100% of fair market value, upto
              Schedule A/B                                                                         any applicable statutory limit

             Bnef
             description:                                          $                               $

              Line from
                                                                                           U 100% of fair market value, up to
              Schedule A/B                                                                         any applicable statutory limit

             Brief
             decription:                                           $________________
              Line Ifrom
                                                                                           U 100% of fair market value, up to
              Schedule A/B:
                                                                                                   any applicable statutory limit


             Brief
             description:                                          $                           1   $

              Line from
                                                                                           U 100% of fair market value, up to
             Schedule NB:
                                                                                                   any applicable statutory limit


             Brief
             description:                                          $________________               $

              Line from
                                                                                           U 100% of fair market value, up to
              Schedule A/B:
                                                                                                   any applicable statutory limit

              Brief
              description:                                         $                       '—' $
              Line from
                                                                                           U 100% of fair market value, up to
              Schedule NB:
                                                                                               any applicable statutory limit


              Brief
              description:                                             $                   U$
              Line from
                                                                                           U 100% of fair market value, up to
              Schedule A/B:
                                                                                                   any applicable statutory limit


              Brief
              description:                                             $________________           $

              Line from
                                                                                           0       100% of fair market value, up to
                                                                                                   any applicable statutory limit
              Schedule A/B:

              Brief
              description:                                             $                   "       $

              Line from
                                                                                           U       100% of fair market value, up to
                                                                                                   any applicable statutory limit
              Schedule A/B:


              Brief
              description:                                             $                   '—' $

              Line from
                                                                                           U 100% of fair market value, up to
                                                                                               any applicable statutory limit
              Schedule NB:



        Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                             page - of_
Filed 11/29/16                                                                  Case 16-90994                                                                            Doc 19

            Debtor 1                                                                          Case number (o,wii___________________________________
                           Feet Name    Middle Name            (aid Name


            •   FTTW      Additional Page

                  Brief description of the property and line           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
                  on Schedule A/B that lists this property             portion you own                                -

                                                                       Copy the value from    Check only one box for each exemption
                                                                       Schedule A/B

        •        Brief
        •        description:                                          $________________       U$
                  Line from                                                                    U 100% of fair market value, up to
                  Schedule A/B:                                                                     any applicable statutory limit     --

                 Brief
            •    description:                                          $                       0$
                  Line from                                                                    U 100% of fair market value, up to
                  Schedule A/B:                                                                     any applicable statutory limit


                 Brief
                 description:                                          $                       U$
                  Line from
                                                                                               U 100% of fairmarket value, upto
                  Schedule A/B:                                                                     any applicable statutory limit

                 Brief                                                                                                                                         -
                 description:                                          $                       U$
                 Line from                                                                     U 100% of fair market value, up to
                 Schedule A/B:                                                                      any applicable statutory limit

            •     Bnef
                 -description:                                         $                       U$
                 Line from
                                                                                               0 100% of fair market value, up to
                 Schedule Aa                                                                        any applicable statutory limit


                 Brief
                 description:                                          $________________
                 Line from
                                                                                               U    100% of fair market value, up to
                 Schedule A/B:                                                                      any applicable statutory limit

                 Brief
                 description:                                          $                       —'   $

                 Line from
                                                                                               0    100% of fair market value, up to
                 Schedule A/B:                                                                      any applicable statutory limit

                 Brief
                 description:                                          $                       U$
                 Line from
                                                                                               0 100% of fair market value, up to
                 Schedule A/B:                                                                      any applicable statutory limit


                 Brief
                 description:                                          $                       ,.   $

                 Line from
                                                                                               U    100% of fair market value, up to
                  Schedule A/B:                                                                     any applicable statutory limit

                 Brief
                 description:                                          $                       U$
                 Line from
                                                                                               U 100% of fair market value, upto
        •        Schedule A/B:                                                                      any applicable statutory limit           -


                 Brief
                 description:                                          $                            $

                 Line from
                                                                                               U    100% of fair market value, upto
                 Schedule A/B                                                                       any applicable statutory limit


                 Brief
                 description:                                          $                       Cl $
                 Line from
                                                                                               U 100% of fair market value, up to
                 Schedule A/B:                                                                      any applicable statutory limit



        Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                       page   -   of_
Filed 11/29/16                                                                 Case 16-90994                                                                          Doc 19

        Debtor 1                                                                                              Case number
                          Fimt Name    Mesa Name              Lae Name




        M9TffW-M Additional Page

                 Brief description of the property and line          Current value of the
                                                                                      ,      Amount of the exemption you claIm       Specific laws that allow exemption
                 an Schedule A/B that lists this property ,          portion you own
                                                                     Copy the value from     Check only one box for each exemphon
                                                                     ScheduleAjB:

                 Brief
                 description:                                        $                       U$
                 Line from                                                                   U 100% of fair market value, up to
                 Schedule A/B:                                                                    any applicable statutory limit     -            --

                 Brief
                 description:                                            $                   U$
                 Line from
                                                                                             U 100% of fair market value, up to
                 Schedule A/B:                                                                    any applicable statutory limit


                 Brief
                 description:                                            $________________        $

                 Line from
                                                                                             U    100% of fair market value, up to
                                                                                                  any applicable statutory limit
                 Schedule A/B:

                 Brief
                 description:                                                                0$
                 Line from
                                                                                             U 100% of fair market value, up to
                 Schedule A/B:
                                                                                                  any applicable statutory limit

        •        Brief
                 description:                                            $________________   U$
                 Line from
                                                                                             U 100% of fair market value, up to
                 Schedule A/B:
                                                                                                  any applicable statutory limit


                 Brief
                 description:                                            $                   U$
                 Line from
                                                                                             U 100% of fair market value, up to
                                                                                                  any applicable statutory limit
                 Schedule NB:

                 Brief                                                                       I,
                 description:                                            $________________        $

                 Line from
                                                                                             U 100% of fair market value, upto
                                                                                                  any applicable statutory limit
                 Schedule A/B:

                 Brief
                 description:                                            $                        $

                 Line from
                                                                                             U    100% of fair market value, up to
                                                                                                  any applicable statutory limit
                 Schedule A/B:


                 Brief
                 description:                                            $                   U$
                 Line from
                                                                                             U 100% of fair market value, up to
                 Schedule A/B:
                                                                                                  any applicable statutory limit

                 Brief
                 description:                                            $________________        $

                 Line from
                                                                                             U    100% of fair market value, up to
                                                                                                  any applicable statutory limit
                 Schedule A/B:

                 Brief
                 description:                                            $                   '    $

                 Line from
                                                                                             U 100% of fair market value, up to
                                                                                                  any applicable statutory limit
                 Schedule A/B:


                 Brief
                 description:                                            $________________        $

                 Line from
                                                                                             U    100% of fair market value, up to
                                                                                                  any applicable statutory limit
                 Schedule A/B:



            Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                       page - of
Filed 11/29/16                                                                                      Case 16-90994                                                                                            Doc 19




           Debtor 1              v'-UIX

           Debtor 2
           (Spouse, it filing)   First Name                          Middle Nenre                     Lest Nnnre


           United States Bankruptcy Court for the:              '   6L S4 ,r                          District of
                                                                                                                    (State)
           Casenumber                  I   &          O 44c(
           (If known)                                                                                                                                                               U   Check if this is an
                                                                                                                                                                                        amended filing


           Official Form 106D
           Schedule 0: Creditors Who Have Claims Secured by Property                                                                                                                                 12/15

           Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
           information. If more space is needed, copy the Additional Page, fill it out number the entries, and attach it to this form. On the top of any
           additional pages, write your name and case number (if known).


       1. Do any creditors have claims secured by your property?
              U      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
              U      Yes. Fill in all of the information below.


                          List All Secured Claims
                                                                                                                         -             I-   •-       ColumnA               lColumnB      .          ColumrtC
       2     List all secured claims If a creditor has more than one secured claim list the credttor separately                                      Amount of claim         Value of collateral II Unsecured
             for each claim If more than one creditor has a particular claim list the other creditors in Part 2                                                              that supports this:' portion
                                                                                                                                                     Do not deduct the
             As much as possible list the claims in alphabetical order according to the creditors name                                               value of collateral     claim               ( If any

                                                                                 Describe the property that secures the claim:                       $                         $
               Creddors Name


               Number                Street
                                                                                                  /
                                       '           ca        g ~ qc( AsU of the date you file, the claim is: Check all that apply.
                                                                                     Contingent
                                                                                 U   Unliquidated
              City                                   State   ZIP Code            U   Disputed
           Who owes the debt? Check one.                                         Nature of lien. Check all that apply.
                 '6btor 1 only                                                   U   An agreement you made (such as mortgage or secured
            U    Debtor 2 only                                                       car loan)
            U    Debtor 1 and Debtor 2 only                                      U   Statutory lien (such as tax lien, mechanic's lien)

            U    At least one of the debtors and another                         U   Judgment lien from a lawsuit
                                                                                 U   Other (including a right to offset)
            U    Check if this claim relates to a
                 community debt
            Date debtwas incurred l4'!i                                          Last 4 dialts of account number                      yt    /W
                                                                                 Describe the property that secures the claim:                       $
              Crediior's Name
                                                                                                    JALA

              Number                 Street                                  I                                                                   I
                                                                                 As of the date you file, the claim is: Check all that apply.
             6,7S                                                                U   Contingent
                                 s            O f-f       f'y                    U   Unliquidated
              City                                  State ZIP Code               U   Dispated

           Who owes the debt? Check one.                                         Nature of lien. Check all that apply.
            LR—Debtor 1 only                                                     U   An agreement you made (such as mortgage or secured
            U    Debtor 2 only                                                       car loan)
            U    Debtor 1 and Debtor 2 only                                      U   Statutory lien (such as tax lien, mechanic's lien)

            U    At least one of the debtors and another                         U   Judgment )ien from a lawsuit
                                                                                 U   Other (including a right to Offset)
           U     Check if this claim relates to a
                 community debt
           Date debt was Incurred                                                Last 4 diaits of account number              '   7
               Add the dollar value of your entries In Column A on this page. Write that number here:
                                                                                                                                                                           I
            Official Form 106D                                       Schedule ID: Creditors Who Have Claims Secured by Property                                                          page 1 of
Filed 11/29/16                                                                      Case 16-90994                                                                                           Doc 19


        Debtor 1              &
                          First Name
                                           &      0 44 C
                                           Middle Name
                                                           ((
                                                                Last Name
                                                                                    c                                     Case number   (fknoee)_____________________________________

                       Additional Page                                                                                              Column A               Column B               Column C
                                                                                                                                    Amount of claim        Value of collateral    Unsecured
                       After listing any entries on this page, number them beginning with 2.3, followed                                                    that supports this     portion
                                                                                                                                    Do not deduut the
                       by 2.4, and so forth.                                                                                                               claim•
                                                                                                                                    value of collateral.

                          .            .   }a         cIcô Describe the property that secures the claim:                            $_~2öc)                $_                    $___________
           Creditor's Wme


            Number            Street

              S11 1-     )Ct C.CA               Ct              As of the date you file, the claim Is: Check all that apply.
                                                                U    Contingent
           City                            State ZIP Code       U    Unhiquidated
                                                                U    Disputed

         Who owes the debt? Check one.                          Nature of lien. Check all that apply.
              öebtor 1 only                                     U   An agreement you made (such as mortgage or secured
         U    Debtor 2 only                                         car loan)
         U    Debtor 1 and Debtor 2 only                        U    Statutory lien (such as tax lien, mechanic's lien)

         U    At least one of the debtors and another           U    Judgment lien from a lawsuit
                                                                53"Other (including a right to offset)      /o62..13.       lee_S
         U    Check if this claim relates to a
              community debt

         Date debt was incurred                                 Last 4 digits of account number -                         -

                                                                Describe the property that secures the claim:                       $                      $_______________
           Creditor's Name


           Number             Street

                                                                As of the date you file, the claim is: Check all that apply.
                                                                U    Contingent
                                                                U    Unliquidated
           City                            State ZIP Code
                                                                U    Disputed
         Who owes the debt? Check one.
                                                                Nature of lien. Check all that apply.
         U    Debtor I only
                                                                U    An agreement you made (such as mortgage or secured
         U    Debtor 2 only                                          car loan)
         U    Debtor 1 and Debtor 2 only                        U    Statutory lien (such as tax lien, mechanic's lien)
         U    At least one of the debtors and another           U    Judgment lien from a lawsuit
                                                                U    Other (including a right to offset)
         U    Check if this claim relates to a
              community debt

         Date debt was incurred                                 Last 4 digits of account number


                                                                Describe the property that secures the claim:                       $________________
           Creditor's Name


           Number             Street


                                                                As of the date you file, the claim Is: Check all that apply.
                                                                U    Contingent
           City                            State ZIP Code       U    Unliquidated
                                                                U    Disputed

         Who owes the debt? Check one.                          Nature of lien. Check all that apply.
         U    Debtor I only                                     U    An agreement you made (such as mortgage or secured
         U    Debtor 2 only                                          car loan)
         U    Debtor 1 and Debtor 2 only                        U    Statutory lien (such as tax lien, mechanic's lien)

         U    At least one of the debtors and another           U    Judgment lien from a lawsuit
                                                                U    Other (including a right to offset)
         U    Check if this claim relates to a
              community debt

         Date debt was incurred                                 Last 4 digits of account number

                   Add the dollar value of your entries in Column A on this page Write that number here

                   If this is the last page of your form, add the dollar value totals from all pages.


          Official Form 106D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                            page       of
Filed 11/29/16                                                              Case 16-90994                                                                                   Doc 19


        Debtor 1                                                                                            Case number   ii
                         First Name     Middle Narae        Last Name


                         List Others to Be Notified for a Debt That You Already Listed

            Use this page Only if you have others to be notified about your bankruptcy for a debt that you already listed in Part I For example if a collection
            agency is trying to collect from you for a debt you owe to someone else, list the creditor In Part 1, and then list the collection agency here. Similarly, if
            you have more than one creditor for any of the debts that you listed in Part I, list the additional creditors here. If you do not have additional persons to
            be notified for any debts in Part 1, do not fi!l out or submit this page.              -

                                                                                                       On which line in Part I did you enter the creditor?

                Name                                                                               r   Last 4 digits of account number -


                Number         Street




                City                                           State          ZIP Code

                                                                                                       On which line in Part I did you enter the creditor?

                Name                                                                                   Last 4 digits of account number   -   -     -    -




                Number        Street




                City                                           State          ZIP Code

                                                                                                       On which line In Part I did you enter the creditor?

              '-Name                                                                                   Last 4 digits of account number   -   -    -    -




                Number        Street




                City                                           State          ZIP Code

                                                                                                       On which line In Part I did you enter the creditor?

                Name                                                                                   Last 4 digits of account number   -   -    -    -




                Number        Street




                City                                           State          ZIP Code

                                                                                                       On which line In Part I did you enter the creditor?
        [


                Name                                                                                   Last 4 digits of account number   -   -    -    -




                Number        Street




                City                                           State          ZIP Code


        1-1     Name
                                                                                                       On which line In Part I did you enter the creditor?

                                                                                                       Last 4 digits of account number .          -    -


                Number         Street




                City                                           State          ZIP Code



            Official Form 106D                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page_of
Filed 11/29/16                                                                        Case 16-90994                                                                                           Doc 19



         Debtor 1               '(
                               First Nurse
                                                   i_So r ' Middle Name                  Last Nurse
                                                                                                      ,
         Debtor 2
         (Spouse, it filing)   First Name                   Middle Name                  Last Name


         United States Bankruptcy Court for the:                          "              District of
                                                                                                          (State)
                                                                                                                                                                    U   Check if this   is   an
         Case number              / 6'       4o q          c_ f                                                                                                         amended filing
          (It known)



        Official Form 106E/F
        Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                          12/15

        Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
        List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
        A/B: Property (Official Form I06AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
        creditors with partially secured claims that are listed In Schedule 0: Creditors Who Have Claims Secured by Property. If more space is
        needed, copy the Part you need, fill it out number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
        any additional pages, write your name and case number (if known).

       •ii              List All of Your PRIORITY Unsecured Claims

            Do any creditors have priority unsecured claims against you?
            U. No. Go to Part 2.
            U Yes.
            List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
            each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
            nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
            unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
            (For an explanation of each type of claim see the instructions for this form in the instruction booklet)
                                                                                                                                                 Total claim       Priority ,    Nonpriority
                                                                                                                                                                   aount
                                                                                                                                                                    m            aount
                                                                                                                                                                                  m

                                             le/    1fL     t?1               Last 4 digits of account number               1 ' C'           $                 $                $__________
              Pnotity Creditor's Name
                Pc             136Y          9c/'2 Sr        '7               Whenwasthedebtincurred?                    2'O/c( 12         dmc)(db
              Number              Street
                                                                              As of the date you file, the claim is: Check all that apply.
                  SoC(c4,j,) &C
                                                                                  'ontingent
              City                                 State     ZIP   Code
                                                                              U     Unliquidated
              Who incurred the debt? Check one.
                                                                                  '6iputed
               Thebtor 1 only '7k cc         33h                     cS
              U      Debtor 2 only                                            Type of PRIORITY unsecured claim:
              U      Debtor 1 and Debtor 2 only                               U     Domestic support obligations
              U      At least one of the debtors and another
                                                                                  1es and certain other debts you owe the government
              U      Check If this claim Is fora community debt               U     Claims for death or personal injury while you were
              Is the claim subject to offset?                                       intocated
              U No                                                            U Other. Specify
              U Yes
                                                                              Last 4 digits of account number ..(. .7. ...               . $_
                                                                              Whenwasthedebtlncurred?                                        14
                th &(I.
              NumberStreet
                           C76dv,
                                                                              As of the date you file, the claim is: Check all that apply.
                                                                                "   Contingent
              City                                 State     ZIP   Code       U     Unliquidated
              Who incurred the debt? Check one.                               GJ-Dispuled
              Wbtor1only '7,rrs,e
                                                                              Type of PRIORITY unsecured claim:
              U      Debtor 2 only
                                                                              U     Domestic support obligations
              U      Debtor 1 and Debtor 2 only
              U      At least one of the debtors and another
                                                                              U     Taxes and certain other debts you owe the government
                                                                              U     Ciaims for death or personal injury while you were
              U      Check if this claim is for a community debt                    intoxicated
              Is the claim subject to offset?                                 U     Other.Specify                                 PCr p(à        ((
              U No
                   es


        Official Form 106E/F                                          Schedule ElF: Creditors Who Have Unsecured Claims                                                  page 1 of
Filed 11/29/16                                                                               Case 16-90994                                                                                               Doc 19

        Debtor 1            klojel 3fl
                           First Name              Middle Name             Last Name
                                                                                            S                                     Case number(ounomo)            &   -   gg c(
                           Your PRIORITY Unsecured Claims - Continuation Page
        After listing any entries on this page number them beginning with 2 3 followed by 2 4 and so forth                                                    Total claim        Priority       Nonpriority
                                                                                                                                                                                 amount         amount



              Pnority Crecftors
                                                                                       Last 4 digits of account number       _k     _21                   $                  $              $


                                                                                       Whenwasthedebtincurred?                    U ./o      7 01t,
              Number            Street

                                                                (                      As of the date you file, the claim is: Check all that apply.

                                                                                           'orttingent
              City                                          State     ZIP Code         U    Unliquidated
                                                                                            Disputed
              Who incurred the debt? Check one.
              t      Debtor 1 only
                                         -
                                           ,     krs'
                                                                _7
                                                                r.riyti..., I'5        Type of PRIORITY unsecured claim:
              U      Debtor 2 only
                                                                                       U    Domestic support obligations
              U      Debtor 1 and Debtor 2 only
                                                                                           'faxes and certain other debts you owe the government
              U      At least one of the debtors and another
                                                                                       U                                     _(.
                                                                                            Claims for death or personal injury while you were
                                                                                            intoxicated
              U      Check if this claim is for a community debt
                                                                                       U    Other. Specify

              Is the claim subject to offset?
              U      No
                     Ves



              Priority Creditors Name
                                                                                       Last 4 digits of account number              2.           ~   ..
                                                                                                                                                          $_________
                                                                (/1

                           -f           ' '-..   g,.   -t   C   ._                     When was the debt Incurred?
              Number            Street
                   4I3t'S?_,4"P
                   262                                                                 As of the date you file, the claim is: Check all that apply.


               7/LJ?I k_7'(Ste ZIP Code
                                                                                            Contingent
              City                                                                     L - Unhiquidated
                                                                                            Disputed
              Who incurred the debt? Check one.
                                                                                       Type of PRIORITY unsecured claim:
                   'ebtor 1 only                        . 3ab+1... r
                                                                             5
              U      Debtor 2 only
                                                                                       U    Domestic support obligations
              U      Debtor 1 and Debtor 2 only
                                                                                       U    Taxes and certain other debts you owe the government
              U      At least one of the debtors and another
                                                                                       U    Claims for death or personal injury while you were
                                                                                            intoxicated
              U      Check if this claim is for a community debt
                                                                                              tFer. Specify

              Is the claim subject to offset?
              U      No
              a—y es

                                                                                       Last 4 digits of account number j .. _.j . j         iL            $_                _ $_________
              Priority Creditors Name


              Number            Street
                                                 ai                                    When was the debt incurred?

                  (.c'7S       3o                                     s                As of the date you file, the claim is: Check all that apply.

                                                                     'f'3oH,           ER"C ontingent
              City                                          State     ZIP Code           'iJnliquidated
                                                                                       U—Disputed
             Who Incurred the debt? Check one.

              R—De btor                            fe'          314..,rS               Type of PRIORITY unsecured claim:
              U      Debtor 2 Only
                                                                                       U    Domestic support obligations
              U      Debtor 1 and Debtor 2 Only
                                                                                       U    Taxes and certain other debts you owe the government
              U      At least one of the debtors and another
                                                                                       U    Claims for death or personal injury while you were
                                                                                            intoxicated
              U      Check If this claim is for a community debt
                                                                                       U    Other. Specify                 frtW



              Is the claim subject to offset?
              UNo



         Official Form 106E/F                                                Schedule ElF: Creditors Who Have Unsecured Claims                                                              pageof_
Filed 11/29/16                                                                           Case 16-90994                                                                                         Doc 19

        Debtor 1             Xox 3
                             Fast Name          Middle Name
                                                              /(
                                                                      Leet Name
                                                                                     S                                 Case number    (ifowo)       /                       CI

       r3.
              1TW.          List All of Your NONPRIORITY Unsecured Claims

              Do any creditors have nonpriority unsecured claims against you?
               Li    No. You have nothing to report in this part. Submit this form to the court with your other schedules.
                    1s
        4     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim            If a creditor has more than one
              nonpriority unsecured claim list the creditor separately for each claim For each claim listed identify what type of claim it is Do not list claims already
              included in Part 1 If more than one creditor holds a particular claim list the other creditors in Part 3 If you have more than three nonpriority unsecured
              claims fill out the Continuation Page of Part 2

                                                                                                                                                                                Totalclaim

                                                                                                 Last 4 digits of account number            - - - -
                Nonprionty Creditors Name                                                                                                                                   $_______________________
                                                                                                 When was the debt incurred?

                Number               Street


                City                                               State          ZiP Code       As of the date you file, the claim is: Check all that apply.

                                                                                                 U    Contingent
                Who incurred the debt? Check one.                                                U    Unhiquidated
                U      Debtor 1 only                                                             U    Disputed
                U      Debtor 2 only
                U      Debtor 1 and Debtor 2 only                                                Type of NONPRIORITY unsecured claim:
                U      At least one of the debtors and another                                   U    Student loans

                U      Check if this claim is for a community debt                               U    Obligations arising out of a separation agreement or divorce
                                                                                                      that you did not report as priority claims
                Is the claim subject to offset?                                                  U    Debts to pension or profit-sharing plans, and other similar debts
                U      No                                                                        U    Other. Specify
                Uyes

                                                                                                 Last 4 digits of account number                          - -               $_________________
                Nonprionty Creditors Name                                                        When was the debt incurred?


                Number               Street
                                                                                                 As of the date you file, the claim is: Check all that apply.
                City                                               State          ZIP Code
                                                                                                 U    Contingent
                Who incurred the debt? Check one.                                                U    Unliquidated

                U      Debtor I Only
                                                                                                 U    Disputed

                U      Debtor 2 only
                                                                                                 Type of NONPRIORITY unsecured claim:
                U      Debtor 1 and Debtor 2 only
                U      At least one of the debtors and another                                   U    Student loans
                                                                                                 U    Obligations arising out of a separation agreement or divorce
                U      Check if this claim      Is   for a community debt                             that you did not report as priority claims
                Is the claim subject to offset?                                                  U    Debts to pension or profit-sharing plans, and other similar debts

                U No                                                                             U    Other. Specify

                U Yes
       14.1_____________
                                                                                                 Last 4 digits of account number            - - - -
                Nonpdority Creditors Name                                                                                                                                   $
                                                                                                 When was the debt i ncurred?

                Number               Street

                                                                                                 As   of the date   you   file, the claim   is:   Check   all that apply.
                City                                               State          ZiP Code
                                                                                                 U    Contingent
                Who incurred the debt? Check one.
                                                                                                 U    Unhiquidated
                U      Debtor   1   Only
                                                                                                      Disputed
                U      Debtor 2 only
                U      Debtor   1   and Debtor 2 only
                                                                                                 Type of NONPRIORITY unsecured claim:
                U      At least one of the debtors and another
                                                                                                 U    Student loans
                U      Check If this claim      is   for a community debt                        U    Obligations arising out of a separation agreement or divorce
                                                                                                      that you did not report as priority claims
                Is the claim subject to offset?
                                                                                                 U    Debts to pension or profit-sharing plans, and other similar debts
                U No
                                                                                                 U    Other. Specify
                U Yes
       L                                                                                                                                                                                           I

             Official Form 106EIF                                          Schedule ElF: Creditors Who Have Unsecured Claims                                                        page -    of_
Filed 11/29/16                                                                           Case 16-90994                                                                           Doc 19

        Debtor 1                                                                                                   Case number   (1
                           Firut Narrre    Middle Nmee            Leet Nurrre




                        Your NONPRIORITY Unsecured Claims - Continuation Page



        After listing any entries on this page number them beginning with 4 5 followed by 4 6 and so forth                                                              Total claim



                                                                                                Last 4 digits of account number
              Nonpnonty Creditor's Name
                                                                                                When was the debt incurred?

              Number              Street
                                                                                                As of the date you file, the claim is: Check all that apply.

              City                                             State            ZIP Code        U   Contingent
                                                                                                U   Unliquidated
              Who Incurred the debt? Check one.
                                                                                                U   Disputed
              U      Debtor 1 only
              U      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
              U      Debtor 1 and Debtor 2 Only
                                                                                                U   Student loans
              U      At least one of the debtors and another
                                                                                                U   Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
              U      Check if this claim is for a community debt
                                                                                                U   Debts to pension or profit-sharing plans, and other similar debts
              Is the claim subject to offset?                                                   U   Other. Specify
              UNo
              U      Yes




                                                                                                Last 4 digits of account number -                -     -
              Nonprionty Creditors Name
                                                                                                When was the debt incurred?

              Number             Street
                                                                                                As of the date you file, the claim is: Check all that apply.

              City                                             State            ZIP   Code      U   Contingent
                                                                                                U   Unhiquidated
             Who incurred the debt? Check one.                                                  U   Disputed
              U      Debtor I only
              U      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
              U      Debtor 1 and Debtor 2 only
                                                                                                U   Student loans
              U      At least one of the debtors and another
                                                                                                U   Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claims
              U      Check if this claim is for a community debt
                                                                                                U   Debts to pension or profit-sharing plana, and other similar debts
              Is the claim subject to offset?                                                   U   Other. Specify
              UNo
              U      Yes



                                                                                                Last 4 digits of account number
              Nonprionty Creditors Name
                                                                                                When was the debt incurred?

              Number             Street
                                                                                                As of the date you file, the claim is: Check all that apply.

                                                                                                U   Contingent
                                                                                                U   Unliquidated
             Who incurred the debt? Check one.
                                                                                                U   Disputed
              U      Debtor 1 Only
              U      Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
              U      Debtor 1 and Debtor 2 only
                                                                                                U   Student loans
              U      At least one of the debtors and another
                                                                                                U   Obligations arising out of a separation agreement or divorce that
                                                                                                    you did not report as priority claima
              U      Check If this claim is for a community debt
                                                                                                U   Debts to pension or profit-sharing plans, and other similar debts
              Is the claim subject to offset?                                                   U   Other. Specify
              UNO
              U      Yes




         Official Form 1 06E/F                                     Schedule ElF: Creditors Who Have Unsecured Claims                                                    page - of -
Filed 11/29/16                                                                     Case 16-90994                                                                           Doc 19

        Debtor   1                                                                                           Case number
                       First Name     Middle Name           Last Name



        ITI'IU List Others to Be Notified About a Debt That You Already Listed

        5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts I or 2. For
            example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts I or
            2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts I or 2, list the
            additional creditors here. If you do not have additional persons to be notified for any debts in Parts I or 2, do not fill out or submit this page.

                                                                                      On which entry in Part I or Part 2 did you list the original creditor?
             Name

                                                                                      Line        of (Check one):   U   Part 1: Creditors with Priority Unsecured Claims
             Number          Street                                                                                 U   Part 2: Creditors with Nonpriority Unsecured Claims

                                                                                      Last 4 digits of account number      -   -   -    -




             City                                   State               ZIP Code


                                                                                       On which entry in Part I or Part 2 did you list the original creditor?
             Name

                                                                                       Line       of   (Check one): U Part 1: Creditors with Priority Unsecured Claims
             Number         Street                                                                                  U Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims

                                                                                       Last 4 digits of account number
             City                                   State               ZIP Code                                           -    -       -




                                                                                       On which entry in Part I or Part 2 did you list the original creditor?
             Name

                                                                                       Line       of   (Check one): U Part 1: Creditors with Priority Unsecured Claims
             Number         Street                                                                                  U   Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims

                                                                                       Last 4 digits of account number     -   -    -    -

                                                    State          -    ZIP Code                                                                   -




                                                                                       On which entry in Part I or Part 2 did you list the original creditor?
             Name

                                                                                       Line       of   (Check one): U Part 1: Creditors with Priority Unsecured Claims
             Number,        Street                                                                                  U   Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims

                                                                                       Last 4 digits of account number
             City                                   State               ZIP Code                                           -   -    -    -




                                                                                       On which entry in Part I or Part 2 did you list the original creditor?
             Name

                                                                                       Line       of (Check one):   U   Part 1: Creditors with Priority Unsecured Claims
             Number          Street                                                                                 U   Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims

                                                                                       Last 4 digits of account number     -   -    -    -

             City                                   State               ZIP Code

                                                                                       On which entry in Part I or Part 2 did you list the original creditor?
             Name

                                                                                       Line       of   (Check one): U Part 1: Creditors with Priority Unsecured Claims
             Number          Street                                                                                 U   Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims

                                                                                       Last 4 digits of account number     -   -    -    -

             City                                   State               ZIP Code


                                                                                       On which entry in Part I or Part 2 did you list the original creditor?
             Name

                                                                                       Line       of   (Check one): U Part I: Creditors with Priority Unsecured Claims
             Number         Street
                                                                                                                    U   Part 2: Creditors with Nonpriority Unsecured
                                                                                       Claims


             City                                   State               ZIP Code
                                                                                       Last 4 digits of account number     -   -   -     -




         Official Form lOGE/F                                Schedule ElF: Creditors Who Have Unsecured Claims                                                  page_of_
Filed 11/29/16                                                             Case 16-90994                                                                                   Doc 19

        Debtor I                                                                                      Case number (if krrown)___________________________________________
                       First Neree      Middle Nesre       Lest Nerse


                   Add the Amounts for Each Type of Unsecured Claim



        6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
           Add the amounts for each type of unsecured claim.




                                                                                               Total claim:


                        6a. Domestic support obligations                                 6a.
        Total claims                                                                            $___________________
        from Part I - 6b. Taxes and certain other debts you owe the
              -            government                                                    6b.    $_____________________

                               Claims for death or personal injury while you were
                               intoxicated                                               6c.

                               Other. Add all other priority unsecured claims.
                               Write that amount here.
                                                                                         6d. + $______________________



                               Total. Add lines 6a through 6d.                           6e.




                                                                                               Total claim

        Total claims 6f Student loans
                                                                                         6f.$______________________
        from Part 2 6g. Obligations arising out of a separation agreement
                         or divorce that you did not report as priority
                         claims                                                          6g.    $________________________
                               Debts to pension or profit-sharing plans, and other
                               similar debts                                             6h.    $_____________________

                               Other. Add all other nonpriorily unsecured claims.
                               Write that amount here.                                   6i. + $________________________



                             Total. Add lines 6f through 6i.                             6j.
                                                                                                $___________________________________




          Official Form 106E/F                                 Schedule ElF: Creditors Who Have Unsecured Claims                                             page of_
Filed 11/29/16                                                                      Case 16-90994                                                                                           Doc 19




            Debtor 1              eLt ?'0       .s
                                   First Name               Middle Name                                                       Check if this is:
            Debtor 2
            (Spouse, if filing)   First Name                Middle Name                Last Name
                                                                                                                              U   An amended filing
                                                                                                                              U   A supplement showing postpetition chapter 13
            United States Bankruptcy Court for the:                       r            District of      £ct.                      expenses as of the following date:
                                                                                                     (State)
            Casenumber               (Ii                                                                                          ieee iuui   tinT
            (If known)



        Official Form 106J
        Schedule J: Your Expenses                                                                                                                                                   12/15

        Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
        information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
        (if known). Answer every question.

                                  Describe Your Household

       1. Is this a joint case?

                          Go to line 2.
             U    Yes. Does Debtor 2 live in a separate household?

                          U       No
                          U       Yes. Debtor 2 must file Official Form I 06J-2, Expenses for Separate Household of Debtor 2.

       2.    Doyàu have dependents?
                    -.
                                                          U No                                           Dependent's relationship to                 Dependent's      Does dependent live
             Do not list Debtor 1 and                     2- 7     Fill out this information for       Debtor I or Debtor 2                          age              with you?
             Debtor 2.                                        each dependent..........................
                                                                                                                                                                      UN0
            Do not state the dependents'
            names.

                                                                                                                                                      (3                   No


                                                                                                                                                                           No
                                                                                                                                                                      U    Yes

                                                                                                                                                                      UNo
                                                                                                                                                                      U    Yes

                                                                                                                                                                      UNo
                                                                                                                                                                      DYes

       3.   Do your expenses include
            expenses of people other than
            yourself and your dependents?                 U   Yes


                           Estimate Your Ongoing Monthly Expenses

        Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
       expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
       applicable date.

       Include expenses paid for with non-cash government assistance if you know the value of
       such assistance and have included it on Schedule!: Your Income (Official Form 1061.)                                                                Your expenses

        4. The rental or home ownership expenses for your residence. Include first mortgage payments and
              any rent for the ground or lot.                                                                                                          $         f70c)
                                                                                                                                              4

              If not included in line 4:
                       Real estate taxes                                                                                                               $
                                                                                                                                                                      ,-
                       Property, homeowner's, or renter's insurance                                                                                    $

                       Home maintenance, repair, and upkeep expenses                                                                                   $

                       Homeowner's association or condominium dues                                                                                     $


            Official Form 106J                                                Schedule J: Your Expenses                                                                         page 1
Filed 11/29/16                                                                            Case 16-90994                                                                              Doc 19



         Debtor 1
                            First Nanse
                                               0(ç((
                                          Middle Name
                                                                      j Ott
                                                                        Last Name
                                                                                                                       Case number(ifksown)               -   q o9


                                                                                                                                                         Your expenses
                                                                                                                        (
                                                                                                        -   crc?-
               Additional mortgage payments for your residence,                       U      -+rnue_rsguItYludi-r---                                 $        i:c)
                                                                                                                                              5.

               Utilities:
               6a.   Electricity, heat, natural gas                                                                                           6a.    $ _'/' ? Si
               6b.   Water, sewer, garbage collection                                                                                                $    / .)
                     Telephone, cell phone, Internet, satellite, and cable services                                                           6c.    $ _ 2S
                                                                                                                                                                                eQ
               6d.   Other. Specify:          't)c      *    '             ô          c .e                                                    6d.    $
         7.    Food and housekeeping supplies                                                                                                 7.     $_____________________
                                                                                                                                                                           s3
         8. Childcare and children's education costs                                                                                                 $_
                                                                                                                                                                           0'
               Clothing, laundry, and dry cleaning                                                                                            9.     $          3 7.
       10.     Personal care products and services                                                                                            io.    $
       .11.    Medical and dental expenses                                                                                                    11.    $             2- c
       12.     Transportation. Include gas, maintenance, bus or train fare.
               Do not include car payments.                                                                                                   12.
                                                                                                                                                     $
       13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                                                    $              f5'D
               Charitable contributions and religious donations                                                                               14.    $ _VS

        15.    lnsüränce.
               Do riot include insurance deducted from your pay or included in lines 4 or 20.

                     •Lifeinsurance                                                                                                           iSa.   $_______________________
                     Health insurance                                                                                                         15b.   $_             J
               lSc., Vehicle insurance                                                                                                               $
                     Other insurance. Specify:          61       c.s,r, mre.(                                                                 15d.   $___________________

       16.     Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
               Specify:                   .                                                                                                   16.    $_______________________

       17.     Installment or lease payments:

               17a. Car payments for Vehicle 1                                                                                                17a.   $        43
               17b. Car payments for Vehicle 2                                                                                                       $_______________________

                     Other. Specify:                                                                                                          17c.   $_____________________

               17d. Other. Specify:                                                                                                           17d.   $_______________________

       18.     Your payments of alimony, maintenance, and support that you did not report as deducted from
               your pay on line 5, Schedule!, Your Income (Official Form 1061).                                                                18.
                                                                                                                                                     $___________________

       19.     Other payments you make to support others who do not live with you.

              Specify:                                                                                                                               $_______________________

               Other real property expenses not included in lines 4 or 5 of this form or on Schedule!: Your Income.

               20a. Mortgages on other property                                                                                               20a.   $_____________________

               20b. Real estate taxes                                                                                                                $________________________

                     Property, homeowner's, or renter's insurance                                                                             20c.   $_______________________

               20d. Maintenance, repair, and upkeep expenses                                                                                  20d.   $
               20e. Homeowner's association or condominium dues                                                                               20e.   $_______________________



             Official Form 106J                                                     Schedule J: Your Expenses                                                               page 2
Filed 11/29/16                                                                    Case 16-90994                                                                        Doc 19



        Debtor 1          4
                         Firat Name
                                        (oar      (
                                        Middle Name
                                                                   O
                                                             Lad Name
                                                                        C&   C.   J                      case number   (if knomn)         (               CI'



       21.     Other. Specify:                                                                                                      21.   +



       22.     Calculate your monthly expenses.

                    Add lines 4 through 21.                                                                                    22a.       $

                    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 1 06J-2                           22b.

                    Add line 22a and 22b. The result is your monthly expenses.                                                 22c.




       23. Calculate your monthly net income.

                    Copy line 12 (your combined monthly income) from Schedule!.                                                               $

                    Copy your monthly expenses from line 22c above.                                                                       -$

                    Subtract your monthly expenses from your monthly income.
                    The result is your monthly net income.                                                                                    $________




       24. Do you expect an increase or decrease in your expenses within the year after you file this form?

              F9r.example, do you expect to finish paying for your car loan within the year or do you expect your
              rnótageayment to increase or decrease because of a modification to the terms of your mortgage?

                 ,No.

                           Explainhere:    1ZTa.,        gjôke c c'




                                                                                                                                                  vt/C            c3      ç

                                      so-f -




             Official Form 106J                                          Schedule J: Your Expenses                                                       page 3
